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   EXHIBIT 125
Message from D. Pipes
     to Plaintiff
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  EXHIBIT 126
Grant Request from
  A. Mekelburg
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 EXHIBIT 127
   Messages
between Plaintiff
  and G. Levy
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   EXHIBIT 128
   Message from
Plaintiff to J. Bishop
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      EXHIBIT 129
     Message from D.
     Pipes to Plaintiff
                 Case 2:19-cv-05030-JDW Document 111-5 Filed 03/02/21 Page 10 of 91
From: Daniel Pipes <pipes@meforum.org>
Sent: Wednesday, June 05, 2019 4:16 PM EDT
To: Lisa Barbounis <Barbounis@meforum.org>
Subject: campaign work
   This message was sent from outside the company by someone with a display name matching a user in your organisation. Please do not click links or open
   attachments unless you recognise the source of this email and know the content is safe.
(I wrote this 2½ weeks ago but incessant travels delayed my sending it to you until now)

Lisa,

The Guardian article from May 17 has a long, insinuating paragraph about you along with a picture of you. The clear
implication is that MEF supports Tommy Robinson's campaign.

This rates as both a surprise and an unwelcome complication. The article could entirely disappear but it could also pop up
in the future and make trouble for us. I do not want potential trouble hanging over us, so am displeased.

You and I have already discussed the matter of your affiliating MEF too closely with Tommy Robinson and we reached an
informal agreement that you would stay away from his efforts. Given this development, I am now imposing a formal
limitation on you: No campaign work, even during your private time, without clearance from me.

Please reply to me with your response.

Daniel
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   EXHIBIT 130
   Message from
Plaintiff to D. Pipes
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  EXHIBIT 131
 Messages between
  Plaintiff and B.
       Baird
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      EXHIBIT 132
     Message from D.
     Pipes to Plaintiff
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      EXHIBIT 133
     Message from D.
     Pipes to Plaintiff
                                                Page111-5
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    From:           "Daniel Pipes" <pipes@meforum.org>
      To:           "Lisa Barbounis" <Barbounis@meforum.org>
    Date:           6/19/2019 9:01:23 AM
  Subject:          Re: dir of development job announcement



  This message was sent from outside the company by someone with a display name matching a user in your organisation. Please do not click links or open
  attachments unless you recognise the source of this email and know the content is safe.

Lisa,

This is a very important job announcement. Your casual unconcern whether it went out or not is unacceptable. If
it did not go out, get it out pronto.


On Wed, Jun 19, 2019 at 9:46 AM Lisa Barbounis <Barbounis@meforum.org > wrote:
 It says it did. However, I don’t see it either in my spam which is where all mine go.

  Get Outlook for iOS

  From: Daniel Pipes <pipes@meforum.org >
  Sent: Wednesday, June 19, 2019 9:16 AM
  To: Lisa Barbounis
  Cc: Marnie Meyer
  Subject: Re: dir of development job announcement


        This message was sent from outside the company by someone with a display name matching a user in your organisation. Please do not click links or
        open attachments unless you recognise the source of this email and know the content is safe.

  Did it go out or not?

  On Wed, Jun 19, 2019 at 8:57 AM Lisa Barbounis <Barbounis@meforum.org                                            > wrote:
   I scheduled it in MailChip last week. Should I resend?


    From: Daniel Pipes <pipes@meforum.org >
    Sent: Friday, June 14, 2019 5:13 PM
    To: Lisa Barbounis; Marnie Meyer
    Subject: dir of development job announcement


          This message was sent from outside the company by someone with a display name matching a user in your organisation. Please do not click links or
          open attachments unless you recognise the source of this email and know the content is safe.

    Lisa - could you send this out?
    Marnie - FYI




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        EXHIBIT 134
        Press Release
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Avi Release

        practices.


        “Jefferies: What gives anyone the right to tell anyone where they
        can and can’t live?


        Yemini: Borders?


       Jefferies: | know borders, but wouldn'tit just be nice if we got to a
       placein society, a utopia where weall just commit to this one idea?


        Yemini: | think most sensible people would agree with you in
        theory, but in practice, it goes against human nature,it just doesn’t
        work.”




       Yemini, "We are seeing a rising effort to silence
       anyone that disagrees with the main stream
        media narrative. They will do everything in their
        power to discredit you, even if it means blatantly
        lying to the general public.”


       The underlying and crucial message to be taken
       away from this blatant act of deception is to be
        mindfully critical of the liberal media we
       consume. This instance is just one of many where
       any message counter to the main stream is
       altered to fit their calculated narrative of
        misconstruing conservative activists’ ideas into
       extreme rhetoric, even if they have to createthis
        rhetoric themselves.




                                                 For immediate release
                                        For more information, contact:
                                                           Lisa Barbounis


                                                      +1 (215) 910-2154
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             EXHIBIT 135
                Press
            Communication
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       EXHIBIT 136
      Plaintiff Banned
      from Facebook
                                             Page111-5
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       From:      "Lisa Barbounis"
         To:      "Winfield Myers" <myers@meforum.org>
                  "Daniel Pipes" <pipes@meforum.org>
                  "Gregg Roman" <Roman@meforum.org>
    Date:         7/19/2019 10:58:48 AM
  Subject:        RE: Author Banned from FB for Linking to Bawer Article on Tommy Robinson


FYI I just received a full ban on Facebook without warning. I haven’t posted on my own Facebook in ov er a week! I have no
access to any of the MEF pages at the moment. I am setting up a new account as we speak.

Lisa




From: Winfield Myers <myers@meforum.org>
Sent: Friday, July 19, 2019 11:46 AM
To: Daniel Pipes <pipes@meforum.org>; Gregg Roman <Roman@meforum.org>
Cc: Cinnamon Stillwell <stillwell@meforum.org>; Marc Fink <fink@meforum.org>; Lisa Barbounis <Barbounis@meforum.org>
Subject: Author Banned from FB for Linking to Bawer Article on Tommy Robinson

   This message was sent from outside the company by someone with a display name matching a user in your organisation. Please do not click links or open
   attachments unless you recognise the source of this email and know the content is safe.

I hadn't heard of this author, Danusha Goska, of Polish & Slovak parentage, but she's apparently has a following (I found this via
FB). She linked to a FrontPage Mag. piece on Robinson by Bruce Bawer and was summarily banned for seven days.

Daniel, I thought of you when I began reading this, as she recalls her days as a visiting student in Poland in the late '80s. A long
but worthwhile read that compares contemporary efforts to ban speech with life behind the Iron Curtain and recalls Polish
history.

Perhaps Goska would be useful in our work on Robinson, or at least an ally.

 https://www.frontpagemag.com/fpm/274304/banned-facebook-mentioning-t-r-danusha-goska?fbclid=IwAR1eCGBF9qZ0R--7C-
fKgrecuajohhRC29KNQ-wra3BrtLrShZxavTNUJJc




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        EXHIBIT 137
        Message from
        Plaintiff to J.
           Bishop
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            EXHIBIT 138
            Message from
            Plaintiff to J.
               Bishop
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  EXHIBIT 139
Plaintiff's Resume
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                                      Resume Submission Form
Please complete this form and paste your resume into the large fields on pages 3-5. When the form is
complete, digitally sign and email the form to ResumeService@mail.house.gov or print, sign, and fax to
202-226-6637. We will use the information provided in this form to match your profile with House office resume
requests. Please note that resumes are kept on file for 90 days.

                                            Applicant Information
      Lisa Barbounis
Name: ___________________________________________                     03/01/2021
                                                  Date of Submission: ______________________
                   215       910           2154
Phone Number: (______) ______-______________ Alt Phone Number: (______) ______-______________
       lisabarbounis@gmail.com
Email: _______________________________________
            Pennsylvania
Home State: ___________________________________________

         I am currently living in the Washington DC area       ✔ I am willing to relocate to the Washington DC
                                                                  area

Please submit my attached resume (Select One):

  ✔     General Submission to Resume Bank

        Open Vacancy          Vacancy Number:                              Title:



                           Applicant Information for Submission to Resume Bank

        Political party preference:

                  ✔    Republican Office           Democratic Office                No Preference

        Type of position you are seeking:

                 ✔     Full Time                   Part Time                        Intern

        Do you have Capitol Hill experience?

                       No                     ✔ Yes                Position Title: Senior District Representative

       For General Submission:
       Select the position(s) you would like to be considered for (maximum 3 positions):
       Chief of Staff               Legislative Correspondent         ✔   Press Secretary



       District Director                Legislative Director                         Receptionist/Staff Assistant



       Executive Assistant              Office Manager                               System Administrator



   ✔ Legislative Assistant              Press Aide                                   Other:




House Vacancy Announcement and Placement Service
Office of the Chief Administrative Officer
U.S. House of Representatives
Washington, DC 20515
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Please use this space for any additional comments you wish to make.
As a communications professional with over six years of legislative experience, in both the public and private sector, I know my diverse
skills and qualifications will make me an asset to the GOP team.

As you will see from the attached resume, I am a passionate conservative who has dedicated my career to forwarding the objectives of
the Republican party and fighting for American interest both internationally and domestically. I have worked on legislation and
messaging for two members of congress, a candidate for MEP in the United Kingdom, countless political campaigns and I thrive in the
fast-paced environment of Congress and politics.

In addition to being flexible and responsive, I am achievement driven. Since entering my role as Director of Communication for the
Middle East Forum I have increased our social media engagement by 32%. From June 2018 through June 2019, I helped place 1,128
articles by 56 experts in 97 outlets, from D.C.'s influential The Hill to the Wall Street Journal, from The Washington Times to Foreign
Policy. Additionally, I arranged for 27 of our experts to be interviewed 92 times by 81 media outlets on both radio and television ranging
from outlets like I24 News and Al Jazeera to Fox News. The connections that I have made and maintained with members of the press
over the years may be one of my biggest contributions to effectively assist in forwarding the Member's objectives.

In closing, I am thrilled at the possibility of returning to Capitol Hill and would love the opportunity to meet with you and discuss the value
that I can bring to your office. In addition to my resume, I have also included writing samples for your review.

Of course, a simple letter and resume never tells the entire story about any job applicant. That is why I am hopeful that if you have any
questions, you will contact me at 215-910-2154 or lisabarbouis@gmail.com to either arrange a follow-up meeting or conversation.

Thank you in advance for your consideration.

Sincerely,

Lisa Reynolds Barbounis




Please initial both of the following:

LB
________   I acknowledge that the House of Representatives Vacancy Announcement and
Placement Service maintains strict confidentiality with House employers regarding vacancies
and cannot disclose information pertaining to the vacancies or referral of applicants and as a
condition of registering with the House Vacancy Announcement and Placement Service, I
agree not to seek this information.



LB
________  I certify that all of the foregoing information that I supplied in this submission form and
resume is correct and complete. I UNDERSTAND THAT ANY FALSIFICATION OR OMISSION
OF ANY INFORMATION CONSTITUTES GROUNDS FOR ANY HOUSE OF
REPRESENTATIVES EMPLOYER TO NOT EMPLOY ME OR TO DISMISS ME FROM
EMPLOYMENT.

Offices within the United States House of Representatives are equal opportunity employers.



                Lisa Barbounis Digitally signed by Lisa Barbounis
                               Date: 2019.07.24 14:38:20 -04'00'
                                                         03/01/2021
Signature: ________________________________________Date: ___________
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LISA BARBOUNIS
2601 Pennsylvania Avenue, #1153
Philadelphia, PA 19130
lisabarbounis@gmail.com
+1 215.910.2154

SUMMARY
Communication and public relations professional specializing in Middle East affairs.
Responsible for advancing the Forum’s project based and legislative initiatives by working with
domestic and international media outlets, elected officials, advocacy groups, government
agencies, and other nonprofits.

EXPERIENCE
Middle East Forum                                                        October 2017 – Present
Philadelphia, PA

Director of Communications
- Responsible for all external communication and public relations
- Represents the president and director, internally and externally, building relationships with
political leaders, industry professionals, editors, journalists and donors
- Develops and delivers political communications strategy in Washington, D.C., Europe and
Israel
- Ensures quality control of all information released including research, articles, messaging,
social media, talking points and government official briefings
- Composes speeches, press releases, op-eds, and promotional material for special events
- Prepares policy memos including a policy proposal on UNRWA that was used by the
Department of State in August 2018
- Oversees all media engagement and article placement for staff and fellows
- Identifies and secures speakers for events, conference calls and media hits.
- Advises and assists in identifying key influencers and facilitates the arrangement of
Congressional, Administration, MP and MEP meetings and briefings
- Conducts briefings with government officials to discuss legislative initiatives
- Tracks domestic and Middle East legislation, news cycles, current events and political trends to
provide background information for staff and for proper placement of fellow articles
- Creates strategic messaging through research and fact analysis
- Implemented and produced new project-based video program
- Increased traffic to website and social media reach by 32%

U.S. House of Representatives – Rep. Ryan Costello (PA-06)          January 2015 – October 2017
Washington, D.C./West Chester, PA

Senior Aide/Senior District Representative
- In coordination with the District Director and Legislative Director, assisted with the
development of district strategies and legislation that supported the member’s policy goals
- Drafted one-minute speeches, Facebook posts, letters of support and constituent
correspondence
- Tracked and researched federal legislation related to office and casework policy goals
- Served as a liaison between the federal government, non-profits, trade associations, advocacy
groups and the Congressman’s constituents on issues relevant to their interests and concerns
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Developed, managed, and maintained strong relationships with Federal, State and local elected
officials, and constituents
- Acted as a surrogate for the Congressman by conducting meetings with constituents and
interest groups
- Attended and reported on Congressional briefings and events on behalf of the Congressman
- Organized, planned, and executed outreach events for 100+ guests
- Processed over 500 yearly casework inquiries specializing in Veterans Affairs, Immigration,
Medicare, Affordable Healthcare Act, Social Security, Internal Revenue Service
- Oversaw and developed the district intern program
- Developed constituent service and intern procedural manuals
- Assured compliance with House Ethics

U.S. House of Representatives - Rep. Jim Gerlach (PA-06)           January 2013 – January 2015
Wyomissing, PA

District Representative
- Managed day-to-day operations in Berks County district office
- Acted as a liaison to federal, state, and local government agencies on behalf of constituents
- Handled casework focused on Social Security, Medicare, Veterans Affairs, Military,
immigration, consumer affairs and IRS related issues
- Served as a liaison between the federal government, non-profits, trade associations, advocacy
groups and the Congressman’s constituents on issues relevant to their interests and concerns
- Tracked federal legislation related to policy goals

EDUCATION
University of Pennsylvania, Philadelphia, PA                                    May 2012
College of Arts and Sciences, Bachelor of Arts in Philosophy Politics & Economics (PPE)
Concentration: Distributive Justice

University of Pennsylvania, Philadelphia, PA                           September 2016- Present
Master of Science in Behavior and Decision Sciences
Concentration: Behavioral Economics – Public Policy

SPEAKING ENGAGEMENTS
- Free Speech in the Age of Censorship – European parliament in Brussels, 2019
- The Chevra – Focus: Israel Advocacy, 2018
- Middle East Forum donor lunches, 2017-2019

ADDITIONAL INFORMATION
Volunteer:
- University of Pennsylvania Alumni Interview Program

Political:
- Director of Communication for a United Kingdom Candidate for Member of the European
Parliament
- Special political advisor to UK political party
- Lou Barletta for Senate
- Ryan Costello for Congress
- Jim Gerlach for Congress
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- Elected Republican Committee Person – Philadelphia
- Matthew Wolf for City Council - Philadelphia

Computer proficiency:
- Microsoft Outlook, Excel, Power Point, Word
- IQ, CRS
- Facebook, Twitter, Periscope, Instagram
- Salesforce, Nation Builder, Constant Contact
- Meltwater, Cision
- Legistorm
- Google Analytics
- MailChimp
- DropBox, Google GSuite
- Monday.com, Slack, Asana
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         EXHIBIT 140
         Transcript of
         Call from M.
            Ebert
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Gregg:               00:01        Hello?

Matthew Ebert:       00:03        Gregg?

Gregg:               00:04        Yes.

Matthew Ebert:       00:05        Hey, it's your anonymous source again.

Gregg:               00:07        Yes.

Matthew Ebert:       00:09        Not in agreement to any kind of recordings, right? Either your
                                  PA or wherever you're at. I'm not in agreement to that. Can you
                                  take me off speaker?

Gregg:               00:15        Okay. I ain't on speaker, I'm in a restaurant right now, in New
                                  York City.

Matthew Ebert:       00:20        Okay. Well, same applies, right?

Gregg:               00:23        Yeah, yeah, no. I'll just say the deal is the deal.

Matthew Ebert:       00:27        Okay. Question for you first of all, any of the information I'm
                                  giving you, is it going to help you at all or not?

Gregg:               00:32        Yeah, look, I haven't gotten any lawsuit yet.

Matthew Ebert:       00:35        Okay. That's surprising. I thought the paperwork was already
                                  there and that's why you were out. We're talking about New
                                  York for the Middle Eastern Forum, correct?

Gregg:               00:43        Yeah.

Matthew Ebert:       00:44        Yeah. I'm just letting you know, because if you haven't been
                                  served yet, because you're home right now on work leave, so I
                                  know we're both on the same page, but I'm just surprised that
                                  you hadn't been served yet.

Gregg:               00:55        No.

Matthew Ebert:       00:56        Okay. I'm going to run some stuff down, and again, if you write
                                  it down, it's fine. If you just want to absorb it, it's all up to you,
                                  I'm just letting you know. I told you about the woman down in
                                  DC.

Gregg:               01:07        Uh-huh (affirmative).


 Matthew Ebert Transcript (Completed 01/25/20)                                            Page 1 of 6
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Matthew Ebert:       01:09        She's got a long sexual history past, so I don't know who
                                  you're... The attorneys you have that are working for you. I
                                  don't know what they can do, as far as what they will do, as far
                                  as their limits go, but even on a Friday or Saturday night, she's
                                  out on the prowl that would do anything as far as your case
                                  goes, as far as what she's claiming is referring to you. I know
                                  that she's the one that I guess got the ball rolling with the suit
                                  and everybody jumped in the suit because of her. I think they
                                  follow her lead. Some of them were encouraged to follow the
                                  lead on that.

Matthew Ebert:       01:40        The one woman that left, or she's leaving within the next
                                  month, actually joined in the suit and made up just to cash in.
                                  Some of them are already counting [inaudible 00:01:48] hope
                                  on first settlement, so they already spent some of their money. I
                                  know that for a fact.

Gregg:               01:54        Okay.

Matthew Ebert:       01:56        The other thing is the drug policy. Do you have a drug policy
                                  there or not?

Gregg:               02:01        Yeah, it's pretty clear.

Matthew Ebert:       02:04        Okay. My question to you is this, sooner the better because
                                  some of them have left. I don't think you can test the past
                                  employees, but the now employees that are there that are
                                  affecting you with this suit. I don't know how much longer
                                  you're going to wait to drug test them or what you have to do
                                  to test them. But if you wait, I don't know what you'll get, but if
                                  you do it soon, you're probably going to get something from
                                  somebody, out of probably who's left because I know some of
                                  them are still leaving.

Gregg:               02:29        We have to have a credible accusation or some kind of evidence
                                  that for instance, you would say, "These people were at this bar
                                  on this night," or, "They may have gone out in Philadelphia. We
                                  had an anonymous tip that they did X drug." You don't have to
                                  give specifics, but if you give me a date and where they were,
                                  then I would be able to use that to get them tested.

Matthew Ebert:       02:49        Well, let's put it this way. I know for a fact within the past three
                                  weeks that three of those four women involved in that lawsuit
                                  were out and about and they were doing drugs. They were
                                  smoking marijuana and they were sniffing some other
                                  medication that they're on. Is that clear enough for you, and
                                  now does that help you in any way?
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Gregg:               03:06        Yeah, definitely. Can you just tell me...

Matthew Ebert:       03:09        They were at... In Philadelphia is where they were all at.

Gregg:               03:11        Could you say which medication that was?

Matthew Ebert:       03:15        They're on some kind of medication for, they all have this
                                  learning disability. Can I go that far, or do I really need to name
                                  it?

Gregg:               03:22        I get it.

Matthew Ebert:       03:23        You know what I'm saying? So I'm going give you two drugs that
                                  they take for this disability. They take Adderall or they'll take
                                  another medication for that. You know what I mean? I forget
                                  what the other one's called, but they take two medicines to
                                  focus. Well, those medicines are being abused, that and
                                  marijuana is being abused. That was three out of the four
                                  involved in that law, as of three weeks ago, and that was at a
                                  place in Philly they were all out and I was present at. So I don't
                                  want my name included in it, but that's definitely where it came
                                  from. That's where that came from firsthand.

Matthew Ebert:       03:52        And I can tell you that because I... I'm sorry, go ahead.

Gregg:               03:55        I was just going to say we tried to talk with them and say, "What
                                  is it that you want?" And they didn't want to talk to us. You're
                                  saying that they want a settlement, but we tried to speak to
                                  them and just got a response back. No.

Matthew Ebert:       04:13        They are all banking on a... I'm not going to lie to you. They're all
                                  banking on a large settlement. One of them has [inaudible
                                  00:04:20] I guess whatever they think they're entitled to, and
                                  they're banking on the settlement quite clearly on that with the
                                  money they think they're going to get. Apparently the one girl
                                  they've already questioned is the girl I talked about in DC.
                                  They've questioned her morality.

Matthew Ebert:       04:33        If they were to follow it up, I think that would just level her suit,
                                  I mean, just chew holes in it as far as her sexual [inaudible
                                  00:04:41] and what she does. The other thing [crosstalk
                                  00:04:44].

Gregg:               04:45        ...understood, sorry, I didn't mean to interrupt you.




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Matthew Ebert:       04:48        No, no. The other thing is, I know you've been out, I don't know
                                  how many months it's been you've been out that you've been
                                  out for at least I think five or six months. Correct?

Gregg:               04:54        10.

Matthew Ebert:       04:56        10, so [inaudible 00:04:57] for 10 months now because the
                                  main boss is only in once a week, I think. Correct?

Gregg:               05:02        I don't know, I don't keep track of him.

Matthew Ebert:       05:03        In those 10 months. Yeah. Okay. In those 10 months, because
                                  there's no supervision in that office, they come and go as they
                                  please. They do what they want. There's no accountability. Half
                                  the time, there's not that many people there, if one, if you're
                                  lucky at that office. Because there's no supervision and they
                                  have the feeling that they can do work from home, do whatever
                                  they need to do. There's no one there.

Matthew Ebert:       05:28        So I don't know if that's the leverage for the suit also, but that's
                                  also, that comes into play as well.

Gregg:               05:33        They're just bragging about this? You know there's going on...

Matthew Ebert:       05:36        They just talk about it. That's the, like I said, I haven't been
                                  there. I haven't been where they work at, but that's the talk
                                  about that that's what they do because there's no supervision
                                  and I knew it was an extended period of time because they said
                                  that.

Matthew Ebert:       05:51        There's also, between me and you, [inaudible 00:05:54] you can
                                  tell whoever you want. There's just off the record between you
                                  as far as anonymous source, there was this girl, I don't know
                                  which girl. I believe it's the one down in DC. She ran into
                                  another girl who quit. I don't know how she did this, but she
                                  said she has a recording of her speaking about something that
                                  happened at your place with... Not your place, at your place of
                                  business with you, which was made up in order to strengthen
                                  their case and it was recorded. Whether it was recorded in a
                                  public place... Yeah, so you can see the extremes that they're
                                  going to in order to try to get at you and I just listen.

Matthew Ebert:       06:28        I am all for listening to certain bullshit, but when I know it's to
                                  extract money or go [inaudible 00:06:34] somebody in a
                                  position like yourself, it's not right. And a lot of them, like I
                                  said...


 Matthew Ebert Transcript (Completed 01/25/20)                                           Page 4 of 6
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Gregg:               06:38        Can I just ask you why you're... I really appreciate this, but I
                                  have to ask, what's your motivation? I mean you're just a good
                                  guy? [inaudible 00:06:48].

Matthew Ebert:       06:50        I'm sorry, what's my motivation?

Gregg:               06:52        Yeah, you're just a good guy it seems like, but I mean...

Matthew Ebert:       06:55        Well I guess I don't want to... I don't like to see people taken
                                  advantage of, and this is a major, major advantage. You are in a
                                  position of power. These women have, for whatever reason,
                                  feel that they can try to take you out of that place of power.
                                  And I don't understand why you would, they would wreck a
                                  good thing but my whole thing is the morality of it. that you
                                  don't sue someone for something like this [inaudible 00:07:20]
                                  or put somebody through the mill if it's not right and it's not
                                  true.

Matthew Ebert:       07:24        And from what I can gather from what I've heard, it's not true.
                                  And some of the things, like I said, their outside lives of work
                                  would crumble their case only because of what I told you as far
                                  as drugs, the sexual history of the numerous, but especially the
                                  one down to DC. There's dirt, then that's just the case of a
                                  young girl also that works there. She's got a job that I think in a
                                  month she's leaving or something like that, where she's on the
                                  downside also. I don't know what your lure is, how they look at
                                  things, if they look at these people harder, that they dig more,
                                  they're going to find a lot more out than they thought was
                                  there.

Matthew Ebert:       07:56        And if it was me also, if you have a drug testing policy based on
                                  what I told you for three weeks ago in Philadelphia, it was at a,
                                  not a club but a high end dinner and then this was going on
                                  right afterwards. That should be enough to test. I don't know
                                  what your policies are.

Gregg:               08:12        I get it, I understand it. And there's no way we could ask you to
                                  come forward even if it was as an anonymous...

Matthew Ebert:       08:20        I can't because of what it's going to cost me. It's going to cost
                                  me a lot and...

Gregg:               08:25        I don't want you to be in that position. But I appreciate your, I
                                  appreciate it. I had to ask though, because I have a duty to the
                                  people.



 Matthew Ebert Transcript (Completed 01/25/20)                                          Page 5 of 6
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Matthew Ebert:       08:31        No, I understand that. And I have no problem continuing to
                                  relay information to you, as long as I'm not recorded or asked.
                                  I'm not going to testify or anything like that, but as far as even
                                  giving depositions, I won't do that because I think I'm in a
                                  position to at least pass off information to you that can be
                                  useful. That can be useful for your case and that can be useful
                                  not to pay anyone out, send them money they're not entitled to
                                  at all, especially for something that's not true.

Gregg:               08:56        Well, I appreciate it [inaudible 00:08:58].

Matthew Ebert:       09:02        Are you there? Your phone's breaking up. Are you there. Gregg?

Matthew Ebert:       09:12        (silence)




 Matthew Ebert Transcript (Completed 01/25/20)                                        Page 6 of 6
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           EXHIBIT 141
           Transcript of
            Plaintiff’s
           Messages to J.
              Bishop
        Case 2:19-cv-05030-JDW Document 111-5 Filed 03/02/21 Page 47 of 91

This transcript was exported on Feb 27, 2020 - view latest version here.


Lisa:                 00:00          You're the biggest fucking loser I've ever met in my entire life. I
                                     actually can't think of anybody in the world more pathetic than
                                     you right now. Think about what you're doing on your Saturday
                                     night. You're a fucking lo-




audio_1@26-02-2020_18-10-19 (Completed 02/27/20)                                         Page 1 of 1
Transcript by Rev.com
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Lisa:
No baby girl, that's you. You're the one that's on meds. You're the one that can't get over shit. You're
the one that stays with somebody who physically beats you, asks you to get abortions, and cheats on
you. (laughs) I'm the one that's sick in the head? You're a fucking mess.




audio_2@26-02-2020_18-10-19 (Completed 02/27/20)                                            Page 1 of 1
Transcript by Rev.com
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This transcript was exported on Feb 27, 2020 - view latest version here.


Lisa:
Oh, but I do. I really do, because you were so pathetic and sad, you told me all of it. You poor thing.
Have another abortion, you whore. (laughs)




audio_3@26-02-2020_18-10-19 (Completed 02/27/20)                                             Page 1 of 1
Transcript by Rev.com
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This transcript was exported on Feb 27, 2020 - view latest version here.


Lisa:
You better go to church, 'cause that shit is murder.




audio_4@26-02-2020_18-10-19 (Completed 02/27/20)                           Page 1 of 1
Transcript by Rev.com
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This transcript was exported on Feb 27, 2020 - view latest version here.


Lisa:
That born again shit is bullshit. Murder is murder. God doesn't want you to murder anybody. That's
called abortions and you weren't a Christian then because that was like in October. So what you've only
been a Christian for about fuckin two months? You're so stupid. Murder is murder sweetheart. Keep
praying. Hopefully God'll...




audio_5@26-02-2020_18-10-19 (Completed 02/27/20)                                         Page 1 of 1
Transcript by Rev.com
        Case 2:19-cv-05030-JDW Document 111-5 Filed 03/02/21 Page 52 of 91

This transcript was exported on Feb 27, 2020 - view latest version here.


Lisa:
An abortion a day in my life. Never had an abortion cause I'm not a whore or an idiot.




audio_6@26-02-2020_18-10-19 (Completed 02/27/20)                                         Page 1 of 1
Transcript by Rev.com
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Lisa:
I think if I had to pick the person that I thought the least of in this entire world, it would definitely,
definitely-




audio_7@26-02-2020_18-10-19 (Completed 02/27/20)                                                 Page 1 of 1
Transcript by Rev.com
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Speaker 1:
Have you read the message you've sent me? You torture me out of nowhere. You bother me out of
nowhere. I don't even talk to either of you. You're a fucking idiot and a-




audio_8@26-02-2020_18-10-19 (Completed 02/27/20)                                    Page 1 of 1
Transcript by Rev.com
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Lisa:
So now I'll get real-




audio_9@26-02-2020_18-10-19 (Completed 02/27/20)                           Page 1 of 1
Transcript by Rev.com
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Lisa:
I wouldn't have to say any th- things- (laughs) any of these things to you if you didn't fucking contact me,
and bother me, and make fake accounts, uh, named Louise.




audio_10@26-02-2020_18-10-19 (Completed 02/27/20)                                           Page 1 of 1
Transcript by Rev.com
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Lisa:
You might have to google that word.

Lisa:
(laughs).




audio_11@26-02-2020_18-10-19 (Completed 02/27/20)                          Page 1 of 1
Transcript by Rev.com
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This transcript was exported on Feb 27, 2020 - view latest version here.


Lisa:
You must have already gotten what's coming to you...




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Transcript by Rev.com
        Case 2:19-cv-05030-JDW Document 111-5 Filed 03/02/21 Page 59 of 91

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Lisa:
I went to an Ivy League school twice and I work for Congress, she's plenty proud. Your mom's a junkie
that's puts fucking drugs up her snatch. What a loser.




audio_13@26-02-2020_18-10-19 (Completed 02/27/20)                                        Page 1 of 1
Transcript by Rev.com
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Lisa:
No wonder you have zero self-esteem.




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Transcript by Rev.com
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Lisa:
You think everybody is tr- is as trashy as you and your fucked up fa-




audio_15@26-02-2020_18-10-19 (Completed 02/27/20)                          Page 1 of 1
Transcript by Rev.com
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Lisa:
You told me, Danny told me. You all told me because you're all losers.




audio_16@26-02-2020_18-10-19 (Completed 02/27/20)                          Page 1 of 1
Transcript by Rev.com
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This transcript was exported on Feb 27, 2020 - view latest version here.


Lisa:
I must say, I am thoroughly enjoying this. It's like really fucking fu-




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Transcript by Rev.com
        Case 2:19-cv-05030-JDW Document 111-5 Filed 03/02/21 Page 64 of 91

This transcript was exported on Feb 27, 2020 - view latest version here.


Lisa:
How proud is your mom that your man has... is a convicted kidnapper and has a fucking dick video out
on the internet. Your kids must be real proud, that's their father. (laughs)




audio_18@26-02-2020_18-10-19 (Completed 02/27/20)                                       Page 1 of 1
Transcript by Rev.com
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Lisa:
... not to mention he slept with your stepmother in a threesome. Yeah, and I'm the fucked up one. You
are so stupid. (laughing).




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Transcript by Rev.com
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Lisa:
I'll sell one of my handbags and it'll be your whole income for the entire year.




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Transcript by Rev.com
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Lisa:
Absolutely. There's no question in my mind that I'm not enjoying this. You won't leave me alone, you get
what's coming to you, and I'm gonna love every fucking minute of it. Your man's a whore. He sleeps with
everyone. You know it. Everyone was right about me. No sweetheart, everyone was right about you and
Danny. You're disgusting. Your family is disgusting. Your life is disgusting. Your house is disgusting. Your
poor fucking kid-




audio_21@26-02-2020_18-10-19 (Completed 02/27/20)                                           Page 1 of 1
Transcript by Rev.com
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Lisa:
If you keep living where you live with the man that you do watching, having your kids watch him beat up
on you and fight they way they do, they won't be fine. They may be fine now but they won't be forever.




audio_22@26-02-2020_18-10-19 (Completed 02/27/20)                                       Page 1 of 1
Transcript by Rev.com
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Lisa:
I know that your house was disgusting and all your furniture is from a charity shop, because you told me.
I know that Danny comes home and spends no time with them and just stares at his phone the whole
time. I know that you have no money. I know that you barely have any money for food, that all of their
clothes come from a charity shop, that you've pulled a knife on your hus ... or your whatever the fuck he
is in front of your kids. I know that they watch you cry. I know that they've seen your black eyes. I know
all of it because you told me. (Laughs) You think that that's all they need? Okay. Keep dreaming. That's
how you end up this fucked up.




audio_23@26-02-2020_18-10-20 (Completed 02/27/20)                                          Page 1 of 1
Transcript by Rev.com
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This transcript was exported on Feb 27, 2020 - view latest version here.


Lisa:
I'm not pissed about anything. I'm mad that you fucking keep bothering me. I don't give a fuck about
Danny. He's a loser, look at him. He's a laughing stock of the internet. He's a laughing stock of his own
friends. He's a fucking joke-




audio_24@26-02-2020_18-10-20 (Completed 02/27/20)                                           Page 1 of 1
Transcript by Rev.com
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Lisa:
If that was the case then ask him about Manchester.




audio_25@26-02-2020_18-10-20 (Completed 02/27/20)                          Page 1 of 1
Transcript by Rev.com
        Case 2:19-cv-05030-JDW Document 111-5 Filed 03/02/21 Page 72 of 91

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Lisa:
It's really funny to me that you know nothing about your own life. Really funny, really, really, really,
really...




audio_26@26-02-2020_18-10-20 (Completed 02/27/20)                                             Page 1 of 1
Transcript by Rev.com
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Lisa:
Sorry, my bad. I meant over the edge. The camp...




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Lisa:
Ha! Absolutely, positively not. Absolutely not. Absolutely not. And I have proof. If he wants to call me,
tell him. Because I'm free to ruin both your lives. It's not a problem for me at all.




audio_28@26-02-2020_18-10-20 (Completed 02/27/20)                                           Page 1 of 1
Transcript by Rev.com
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Lisa:
(laughs)




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Transcript by Rev.com
        Case 2:19-cv-05030-JDW Document 111-5 Filed 03/02/21 Page 76 of 91

This transcript was exported on Feb 27, 2020 - view latest version here.


Lisa:
I'm not ruining my relationship with Tommy for your fucking crazy ass. But I already warned Danny, so
I'm giving him the chance to settle you the fuck down.




audio_30@26-02-2020_18-10-20 (Completed 02/27/20)                                        Page 1 of 1
Transcript by Rev.com
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This transcript was exported on Feb 27, 2020 - view latest version here.


Lisa:
(laughing). You're so fucking stupid. You're so fucking stupid. Really, so stupid. Probably the dumbest
bitch I ever fucking met in my life.




audio_31@26-02-2020_18-10-20 (Completed 02/27/20)                                          Page 1 of 1
Transcript by Rev.com
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Lisa:
So if you have nothing to worry about, why do you keep writing me? Really. Think about it. It's not even
logical.




audio_32@26-02-2020_18-10-20 (Completed 02/27/20)                                         Page 1 of 1
Transcript by Rev.com
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Lisa:
Every single time I told you I had proof, I did, and I do, and I don't fucking care.




audio_33@26-02-2020_18-10-20 (Completed 02/27/20)                                      Page 1 of 1
Transcript by Rev.com
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Lisa:
I tried to build you up and make you feel better about your own life, but then you kept harassing me and
being crazy, so then, I'm just gonna retaliate. Then I'm just gonna fuckin' be back to the corner and
you're gonna make me say things that fuckin', you don't wanna hear. That's on-




audio_34@26-02-2020_18-10-20 (Completed 02/27/20)                                        Page 1 of 1
Transcript by Rev.com
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Lisa:
Do you know what the word logical means? Do you? That might be like a high school word. Didn't you
drop out?




audio_35@26-02-2020_18-10-20 (Completed 02/27/20)                                     Page 1 of 1
Transcript by Rev.com
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Lisa:
I'll give it to ya. I just wanna make ya sweat a little more. I gotta drag it up anyway. Give me a couple
minutes.




audio_36@26-02-2020_18-10-20 (Completed 02/27/20)                                             Page 1 of 1
Transcript by Rev.com
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This transcript was exported on Feb 27, 2020 - view latest version here.


Lisa:
Absolutely not. I don't have time for that.




audio_37@26-02-2020_18-10-20 (Completed 02/27/20)                          Page 1 of 1
Transcript by Rev.com
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This transcript was exported on Feb 27, 2020 - view latest version here.


Lisa:
You feel like shit because you know every time I told you anything it was true.




audio_38@26-02-2020_18-10-20 (Completed 02/27/20)                                 Page 1 of 1
Transcript by Rev.com
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This transcript was exported on Feb 27, 2020 - view latest version here.


Lisa:
Oh I can guarantee you won't love it.

Speaker 2:
What?

Lisa:
You'll hate it.

Speaker 2:
Remember this?

Lisa:
I'm just trying to have you not kill yourself.




audio_39@26-02-2020_18-10-20 (Completed 02/27/20)                          Page 1 of 1
Transcript by Rev.com
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Lisa:
Oh, no that's it at all. I'm just talking to somebody about the situation. Wonder who might that be.




audio_40@26-02-2020_18-10-20 (Completed 02/27/20)                                          Page 1 of 1
Transcript by Rev.com
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         EXHIBIT 142
         Consolidated
         Transcrips of
          Plaintiff's
         Messages to J.
            Bishop
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Lisa: You're the biggest fucking loser I've ever met in my entire life. I
actually can't think of anybody in the world more pathetic than you right now. Think about what you're doing on your
Saturday night. You're a fucking lo-
audio_1@26-02-2020_18-10-19 (Completed 02/27/20)                                                 Page 1 of 1
Lisa:
No baby girl, that's you. You're the one that's on meds. You're the one that can't get over shit. You're the one that
stays with somebody who physically beats you, asks you to get abortions, and cheats on you. (laughs) I'm the one
that's sick in the head? You're a fucking mess.

audio_2@26-02-2020_18-10-19 (Completed 02/27/20)                                                 Page 1 of 1
Lisa:
Oh, but I do. I really do, because you were so pathetic and sad, you told me all of it. You poor thing. Have another
abortion, you whore. (laughs)
audio_3@26-02-2020_18-10-19 (Completed 02/27/20)                                                 Page 1 of 1
Lisa:
You better go to church, 'cause that shit is murder.
audio_4@26-02-2020_18-10-19 (Completed 02/27/20)                                                 Page 1 of 1

Lisa:
That born again shit is bullshit. Murder is murder. God doesn't want you to murder anybody. That's called abortions
and you weren't a Christian then because that was like in October. So what you've only been a Christian for about
fuckin two months? You're so stupid. Murder is murder sweetheart. Keep praying. Hopefully God'll...

audio_5@26-02-2020_18-10-19 (Completed 02/27/20)                                                 Page 1 of 1
Lisa:
An abortion a day in my life. Never had an abortion cause I'm not a whore or an idiot.
audio_6@26-02-2020_18-10-19 (Completed 02/27/20)                                                 Page 1 of 1
Lisa:
I think if I had to pick the person that I thought the least of in this entire world, it would definitely, definitely-

audio_7@26-02-2020_18-10-19 (Completed 02/27/20)                                                 Page 1 of 1
Speaker 1:
Have you read the message you've sent me? You torture me out of nowhere. You bother me out of nowhere. I don't
even talk to either of you. You're a fucking idiot and a-
audio_8@26-02-2020_18-10-19 (Completed 02/27/20)                                                 Page 1 of 1
Lisa:
So now I'll get real-
audio_9@26-02-2020_18-10-19 (Completed 02/27/20)                                                 Page 1 of 1
Lisa:
I wouldn't have to say any th- things- (laughs) any of these things to you if you didn't fucking contact me, and bother
me, and make fake accounts, uh, named Louise.
audio_10@26-02-2020_18-10-19 (Completed 02/27/20)                                                Page 1 of 1

Lisa:You might have to google that word.

Lisa:
(laughs).
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audio_11@26-02-2020_18-10-19 (Completed 02/27/20)                                         Page 1 of 1
Lisa:
You must have already gotten what's coming to you...
audio_12@26-02-2020_18-10-19 (Completed 02/27/20)                                         Page 1 of 1
Lisa:
I went to an Ivy League school twice and I work for Congress, she's plenty proud. Your mom's a junkie that's puts
fucking drugs up her snatch. What a loser.
audio_13@26-02-2020_18-10-19 (Completed 02/27/20)                                         Page 1 of 1
Lisa:
No wonder you have zero self-esteem.
audio_14@26-02-2020_18-10-19 (Completed 02/27/20)                                         Page 1 of 1
Lisa:
You think everybody is tr- is as trashy as you and your fucked up fa-
audio_15@26-02-2020_18-10-19 (Completed 02/27/20)                                         Page 1 of 1
Lisa:
You told me, Danny told me. You all told me because you're all losers.
audio_16@26-02-2020_18-10-19 (Completed 02/27/20)                                         Page 1 of 1
Lisa:
I must say, I am thoroughly enjoying this. It's like really fucking fu-
audio_17@26-02-2020_18-10-19 (Completed 02/27/20)                                         Page 1 of 1
Lisa:
How proud is your mom that your man has... is a convicted kidnapper and has a fucking dick video out on the
internet. Your kids must be real proud, that's their father. (laughs)
audio_18@26-02-2020_18-10-19 (Completed 02/27/20)                                         Page 1 of 1
Lisa:
... not to mention he slept with your stepmother in a threesome. Yeah, and I'm the fucked up one. You are so stupid.
(laughing).
audio_19@26-02-2020_18-10-19 (Completed 02/27/20)                                         Page 1 of 1
Lisa:
I'll sell one of my handbags and it'll be your whole income for the entire year.
audio_20@26-02-2020_18-10-19 (Completed 02/27/20)                                         Page 1 of 1
Lisa:
Absolutely. There's no question in my mind that I'm not enjoying this. You won't leave me alone, you get what's
coming to you, and I'm gonna love every fucking minute of it. Your man's a whore. He sleeps with everyone. You know
it. Everyone was right about me. No sweetheart, everyone was right about you and Danny. You're disgusting. Your
family is disgusting. Your life is disgusting. Your house is disgusting. Your poor fucking kid-

audio_21@26-02-2020_18-10-19 (Completed 02/27/20)                                         Page 1 of 1
Lisa:If you keep living where you live with the man that you do watching, having your kids watch him beat up on you
and fight they way they do, they won't be fine. They may be fine now but they won't be forever.

audio_22@26-02-2020_18-10-19 (Completed 02/27/20)                                         Page 1 of 1
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Lisa:
I know that your house was disgusting and all your furniture is from a charity shop, because you told me. I know that
Danny comes home and spends no time with them and just stares at his phone the whole time. I know that you have
no money. I know that you barely have any money for food, that all of their clothes come from a charity shop, that
you've pulled a knife on your hus ... or your whatever the fuck he is in front of your kids. I know that they watch you
cry. I know that they've seen your black eyes. I know all of it because you told me. (Laughs) You think that that's all
they need? Okay. Keep dreaming. That's how you end up this fucked up.

audio_23@26-02-2020_18-10-20 (Completed 02/27/20)                                              Page 1 of 1
Lisa:
I'm not pissed about anything. I'm mad that you fucking keep bothering me. I don't give a fuck about Danny. He's a
loser, look at him. He's a laughing stock of the internet. He's a laughing stock of his own friends. He's a fucking joke-

audio_24@26-02-2020_18-10-20 (Completed 02/27/20)                                              Page 1 of 1
Lisa:
If that was the case then ask him about Manchester.
audio_25@26-02-2020_18-10-20 (Completed 02/27/20)                                              Page 1 of 1
Lisa:
It's really funny to me that you know nothing about your own life. Really funny, really, really, really, really...

audio_26@26-02-2020_18-10-20 (Completed 02/27/20)                                              Page 1 of 1
Lisa:
Sorry, my bad. I meant over the edge. The camp...
audio_27@26-02-2020_18-10-20 (Completed 02/27/20)                                              Page 1 of 1
Lisa:
Ha! Absolutely, positively not. Absolutely not. Absolutely not. And I have proof. If he wants to call me, tell him.
Because I'm free to ruin both your lives. It's not a problem for me at all.
audio_28@26-02-2020_18-10-20 (Completed 02/27/20)                                              Page 1 of 1
Lisa:
(laughs)
audio_29@26-02-2020_18-10-20 (Completed 02/27/20)                                              Page 1 of 1
Lisa:
I'm not ruining my relationship with Tommy for your fucking crazy ass. But I already warned Danny, so I'm giving him
the chance to settle you the fuck down.
audio_30@26-02-2020_18-10-20 (Completed 02/27/20)                                              Page 1 of 1
Lisa:
(laughing). You're so fucking stupid. You're so fucking stupid. Really, so stupid. Probably the dumbest bitch I ever
fucking met in my life.
audio_31@26-02-2020_18-10-20 (Completed 02/27/20)                                              Page 1 of 1
Lisa:
So if you have nothing to worry about, why do you keep writing me? Really. Think about it. It's not even logical.

audio_32@26-02-2020_18-10-20 (Completed 02/27/20)                                              Page 1 of 1
Lisa:
Every single time I told you I had proof, I did, and I do, and I don't fucking care.
audio_33@26-02-2020_18-10-20 (Completed 02/27/20)                                              Page 1 of 1
                  Case 2:19-cv-05030-JDW Document 111-5 Filed 03/02/21 Page 91 of 91

Lisa:
I tried to build you up and make you feel better about your own life, but then you kept harassing me and being crazy,
so then, I'm just gonna retaliate. Then I'm just gonna fuckin' be back to the corner and you're gonna make me say
things that fuckin', you don't wanna hear. That's on-
audio_34@26-02-2020_18-10-20 (Completed 02/27/20)                                            Page 1 of 1
Lisa:
Do you know what the word logical means? Do you? That might be like a high school word. Didn't you drop out?

audio_35@26-02-2020_18-10-20 (Completed 02/27/20)                                            Page 1 of 1
Lisa:
I'll give it to ya. I just wanna make ya sweat a little more. I gotta drag it up anyway. Give me a couple minutes.

audio_36@26-02-2020_18-10-20 (Completed 02/27/20)                                            Page 1 of 1
Lisa:
Absolutely not. I don't have time for that.
audio_37@26-02-2020_18-10-20 (Completed 02/27/20)                             Page 1 of 1
Lisa:
You feel like shit because you know every time I told you anything it was true.
audio_38@26-02-2020_18-10-20 (Completed 02/27/20)                                            Page 1 of 1
Lisa:
Oh I can guarantee you won't love it.
Speaker 2:
What?
Lisa:
You'll hate it.
Speaker 2:
Remember this?
Lisa:
I'm just trying to have you not kill yourself.
audio_39@26-02-2020_18-10-20 (Completed 02/27/20)                                            Page 1 of 1
Lisa:
Oh, no that's it at all. I'm just talking to somebody about the situation. Wonder who might that be.
audio_40@26-02-2020_18-10-20 (Completed 02/27/20)                                            Page 1 of 1
